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                                                             UNITED STATES DISTRICT COURT
                                                                  DENVER, COLORADO
                                                                     2:49 pm, Aug 31, 2022

                                                               JEFFREY P. COLWELL, CLERK
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                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLORADO


  Civil Action No: 1:22-CV-02224-KLM

  Thomas D. Seaman, Individually
  James Corey Goode, Individually

  Plaintiffs,

  v.

  Alyssa Chrystie Montalbano, Individually

  Defendant


                             Certificate of Conferral and Service


  The below-signed has conferred with all parties to this instant action and at least one does not

  consent to have a Magistrate Judge conduct all proceedings in this instant action. A copy of this

  form and conferral will be served on all parties.


  Dated this 31st Day of August 2022                       Respectfully Submitted and All

                                                           Rights Reserved,

                                                           /s/ Alyssa Chrystie Montalbano

                                                           American Citizen, Defendant

                                                           970.250.8365
                                                           2536 Rimrock Ave
                                                           Suite 400-117
                                                           Grand Junction, CO 81505
                                                           E-mail: LegalZenACM@gmail.com


  Certificate of Conferral Consent/Non-consent                                          Page 1 of 2
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                                    CERTIFICATE OF SERVICE

  I certify that on this 31th day of August 2022 a true copy of the foregoing Consent/Non-Consent
  was filed with the clerk of the Federal Court via submitting the documents to
  COD_Prose_filing@cod.uscourts.gov and the same delivered by paper mail upon the following
  parties:

  Mr. James Corey Goode
  1140 US Highway 287
  Suite 400-266
  Broomfield, CO 80020
  USPS Certified Mail 7021 0950 0000 5249 9126

  Mr. Thomas D. Seaman
  dba ALPINE JUDGMENT RECOVERY
  PO Box 1002
  Ridgway, CO 81432
  USPS Certified Mail 7021 0950 0001 5240 2989

  /s/ Alyssa Montalbano

  Alyssa Montalbano, American Citizen




  Certificate of Conferral Consent/Non-consent                                        Page 2 of 2
